433 F.2d 996
    William P. RYAN, Petitioner-Appellant,v.STATE OF LOUISIANA, C. Murray Henderson, Warden, Respondent-Appellee.
    No. 30253 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431
    
      F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Nov. 13, 1970, Rehearing Denied Nov. 27, 1970.
      William P. Ryan, pro se.
      Jack P. F. Gremillion, Atty. Gen., Baton Rouge, La., for respondent-appellee.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      We review on appeal the district court's denial after an evidentiary hearing of the habeas corpus petition of a Louisiana state prisoner.  On a previous appeal we reversed and remanded for evidentiary hearing on the merits of the appellant's contentions of ineffective assistance of counsel, coercion of guilty plea by an assistant district attorney, and double jeopardy.  Ryan v. State of Louisiana, 5 Cir. 1969, 418 F.2d 560.
    
    
      2
      The reasons for the judgment below, including appropriate findings of fact and conclusions of law, are well stated in the memorandum-opinion of the lower court, Ryan v. State of Louisiana, E.D.La.1970, 314 F.Supp. 1047.  We affirm on the basis of Judge West's opinion.
    
    
      3
      Affirmed.
    
    